        Case 2:18-cv-02097-JAD-VCF Document 1 Filed 10/31/18 Page 1 of 8



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Attorney for Plaintiff,
ROBERT MILLER


                          UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA
                               LAS VEGAS DIVISION

 ROBERT MILLER,                                 Case No. ____________________

                            Plaintiff,
                                                COMPLAINT FOR DAMAGES AND
                                                INJUNCTIVE RELIEF FOR
 v.                                             COPYRIGHT INFRINGEMENT

 4INTERNET, LLC; and DOES 1                     DEMAND FOR JURY TRIAL
 through 10 inclusive,

                            Defendants.




        Plaintiff, Robert Miller alleges as follows:

                             JURISDICTION AND VENUE

        1.     This is a civil action seeking damages and injunction relief for

 copyright infringement under the Copyright Act of the United States, 17 U.S.C. §

 101 et seq.

        2.     This Court has subject matter jurisdiction over Plaintiff’s claims for

                                            1
       Case 2:18-cv-02097-JAD-VCF Document 1 Filed 10/31/18 Page 2 of 8




copyright infringement pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1338(a).

      3.       This Court has personal jurisdiction over Defendants because

Defendants conduct business and/or reside within the State of Nevada Defendants’

acts of infringement complained of herein occurred in the State of Nevada, and

Defendants caused injury to Plaintiff within the State of Nevada.

      4.       Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and

1400(a) in that this is the judicial district in which a substantial part of the acts and

omissions giving rise to the claims occurred. Alternatively, venue is also proper

pursuant to 28 U.S.C. § 1400(b) because the Defendants reside and have a regular

and established place of business in this judicial district.

                                         PARTIES

      5.       Plaintiff Robert Miller (“Plaintiff or “Miller”) resides in the State of

New York and is a professional photographer by trade.

      6.       Plaintiff is informed and believes, and thereon alleges, that

Defendant 4Internet, LLC. (“Defendant”) is a limited liability company duly

organized and existing under the laws of the State of Nevada, with a place of

business at 8275 South Eastern Avenue, Suite 200-265, Las Vegas, NV 89123.

      7.       Defendant       owns        and       operates        the       websites,

https://www.4jewish.com/ and http://www.4rightwing.com/ (collectively the

“Websites”).     A true and correct copy of the GoDaddy WHOIS registration



                                            2
      Case 2:18-cv-02097-JAD-VCF Document 1 Filed 10/31/18 Page 3 of 8




information are attached hereto as Exhibits A and B respectively.

      8.     Defendant’s site, https://www.4jewish.com/, “is a Jewish search

engine and news discovery site that focuses on Jewish perspectives.”            See

https://www.4jewish.com/about/.

      9.     Defendant’s site, http://www.4rightwing.com/, “is a search engine for

those who are tired of the left-wing liberal bias . . .” and references

https://www.4jewish.com/. See http://www.4rightwing.com/about/.

      10.    Plaintiff is unaware of the true names and capacities of the

Defendants sued herein as DOES 1 through 10, inclusive, and for that reason, sues

such Defendants under such fictitious names. Plaintiff is informed and believes

and on that basis alleges that such fictitiously named Defendants are responsible

in some manner for the occurrences herein alleged, and that Plaintiff’s damages as

herein alleged were proximately caused by the conduct of said Defendants.

Plaintiff will seek to amend the complaint when the names and capacities of such

fictitiously named Defendants are ascertained. As alleged herein, “Defendants”

shall mean all named Defendants and all fictitiously named Defendants.

      11.    For the purposes of this Complaint, unless otherwise indicated,

“Defendant” includes all agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogates, representatives and

insurers       of       Defendants        named         in       this      caption.



                                         3
      Case 2:18-cv-02097-JAD-VCF Document 1 Filed 10/31/18 Page 4 of 8




                           FACTUAL ALLEGATIONS

      12.    Plaintiff Robert Miller is a professional photographer by trade.

Miller has licensed or sold his photographs to dozens of major media outlets such

as The New York Post, The New York Times, Rolling Stone Magazine, South

China Morning Post, Agence France-Press, Newsday, New York Daily News,

Newsweek Magazine, People Magazine, The Associated Press, and USA Today.

      13.    Miller is the sole author and exclusive rights holder to a photograph

of a goat escaping the New Jersey livestock auction house (the “Image”). A true

and correct copy of the original Image is attached hereto as Exhibit C.

      14.    Miller registered the Images with the United States Copyright Office

under registration number VA0002120723.

      15.    Miller’s Image originally appeared in an article published by the New

York Post (“Post”) on August 9, 2018, titled Rogue goat may have helped dozens

of farm animals escape (“Post Article”). A true and correct copy of the original

Post Article is attached hereto as Exhibit D.

      16.    Miller’s Image featured in the Post Article included a credit below

the bottom left corner crediting the Image to Miller. See Exhibit D.

      17.    On our about August 31, 2018, Miller discovered that Defendant had

used the Image on Defendant’s Websites by re-posting the original Post Article

(the “Infringing Post”).    True and correct screenshots of the Infringing Post



                                          4
      Case 2:18-cv-02097-JAD-VCF Document 1 Filed 10/31/18 Page 5 of 8




featuring Miller’s Image on Defendant’s Websites are attached hereto as Exhibit

E.

      18.    Miller never authorized Defendants to use the Image in any manner.

      19.    On or about September 5, 2018, Plaintiff’s counsel sent a cease and

desist letter to Defendant counsel informing it of the unauthorized use of the

Image and requesting, inter alia, that Defendant remove the Infringing Post.

      20.    Defendant’s counsel responded and the parties corresponded between

September 25, 2018 and October 1, 2018. However, the parties were unable to

reach an agreement in this matter.

      21.    On information and belief, Defendant knew it did not have

permission to use the Image on its Website and willfully infringed Miller’s Image.

                         FIRST CAUSE OF ACTION
                        COPYRIGHT INFRINGEMENT
                            17 U.S.C. § 101 et seq.
                           (Against All Defendants)

      22.    Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

      23.    Plaintiff did not consent to, authorize, permit, or allow in any manner

the said use of Plaintiff’s unique and original Images.

      24.    Plaintiff is informed and believes and thereon alleges that the

Defendants willfully infringed upon Plaintiff’s copyrighted Image in violation of

Title 17 of the U.S. Code, in that they used, published, communicated, posted,

                                           5
      Case 2:18-cv-02097-JAD-VCF Document 1 Filed 10/31/18 Page 6 of 8




publicized, and otherwise held out to the public for commercial benefit, the

original and unique Images of the Plaintiff without Plaintiff’s consent or authority,

by using them in the Infringing Post.

      25.     As a result of Defendants’ violations of Title 17 of the U.S. Code,

Plaintiff is entitled to any actual damages pursuant to 17 U.S.C. §504(b), or

statutory damages in an amount up to $150,000.00 pursuant to 17 U.S.C. § 504(c).

      26.     As a result of the Defendants’ violations of Title 17 of the U.S. Code,

the court in its discretion may allow the recovery of full costs as well as

reasonable attorney’s fees and costs pursuant to 17 U.S.C § 505 from Defendants.

      27.     Plaintiff is also entitled to injunctive relief to prevent or restrain

infringement of his copyright pursuant to 17 U.S.C. § 502.

                              PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants and each of them

as follows:

   • For statutory damages against each Defendant in an amount up to

      $150,000.00 for each infringement pursuant to 17 U.S.C. § 504(c);

   • For general and special damages against each Defendant according to proof

      together with interest thereon at the maximum legal rate;

   • For costs of litigation and reasonable attorney’s fees against each Defendant

      pursuant to 17 U.S.C. § 505;


                                             6
      Case 2:18-cv-02097-JAD-VCF Document 1 Filed 10/31/18 Page 7 of 8




   • For an injunction preventing each Defendant from further infringement of

      all copyrighted works of the Plaintiff pursuant to 17 U.S.C. § 502; and

   • For any other relief the Court deems just and proper.




Dated: October 31, 2018                     Respectfully submitted,

                                            /s/ Mathew K. Higbee
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                                        7
      Case 2:18-cv-02097-JAD-VCF Document 1 Filed 10/31/18 Page 8 of 8




                          DEMAND FOR JURY TRIAL

      Plaintiff, Robert Miller, hereby demands a trial by jury in the above matter.



Dated: October 31, 2018                Respectfully submitted,


                                              /s/ Mathew K. Higbee
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                                          8
